Case: 4:20-mj-00077-DDN Doc. #: 2 Filed: 03/18/20 Page: 3 of 8 PageID #: 27
Case: 4:20-mj-00077-DDN Doc. #: 2 Filed: 03/18/20 Page: 4 of 8 PageID #: 28
Case: 4:20-mj-00077-DDN Doc. #: 2 Filed: 03/18/20 Page: 5 of 8 PageID #: 29
Case: 4:20-mj-00077-DDN Doc. #: 2 Filed: 03/18/20 Page: 6 of 8 PageID #: 30
Case: 4:20-mj-00077-DDN Doc. #: 2 Filed: 03/18/20 Page: 7 of 8 PageID #: 31
Case: 4:20-mj-00077-DDN Doc. #: 2 Filed: 03/18/20 Page: 8 of 8 PageID #: 32
Case: 4:20-mj-00077-DDN Doc. #: 1 Filed: 03/18/20 Page: 3 of 24 PageID #: 3
Case: 4:20-mj-00077-DDN Doc. #: 1 Filed: 03/18/20 Page: 5 of 24 PageID #: 5
Case: 4:20-mj-00077-DDN Doc. #: 1 Filed: 03/18/20 Page: 6 of 24 PageID #: 6
Case: 4:20-mj-00077-DDN Doc. #: 1 Filed: 03/18/20 Page: 7 of 24 PageID #: 7
Case: 4:20-mj-00077-DDN Doc. #: 1 Filed: 03/18/20 Page: 8 of 24 PageID #: 8
Case: 4:20-mj-00077-DDN Doc. #: 1 Filed: 03/18/20 Page: 9 of 24 PageID #: 9
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Case: 4:20-mj-00077-DDN Doc. #: 1 Filed: 03/18/20 Page: 20 of 24 PageID #: 20
Case: 4:20-mj-00077-DDN Doc. #: 1 Filed: 03/18/20 Page: 21 of 24 PageID #: 21
Case: 4:20-mj-00077-DDN Doc. #: 1 Filed: 03/18/20 Page: 22 of 24 PageID #: 22
Case: 4:20-mj-00077-DDN Doc. #: 1 Filed: 03/18/20 Page: 23 of 24 PageID #: 23
Case: 4:20-mj-00077-DDN Doc. #: 1 Filed: 03/18/20 Page: 24 of 24 PageID #: 24
